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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


MATTHEW DUNLAP,


              Plaintiff,

    v.                               Civil Docket No. 17-cv-2361 (CKK)

PRESIDENTIAL ADVISORY
COMMISSION ON ELECTION
INTEGRITY et al.,


              Defendants.



          REPLY IN FURTHER SUPPORT OF DEFENDANTS’ MOTION
         TO RECONSIDER THIS COURT’S DECEMBER 22, 2017, ORDER
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                                         INTRODUCTION

        Plaintiff continues to seek a preliminary injunction in order to participate in a Presidential

Commission that no longer exists -- a Commission that was dissolved before issuing a report or

making any recommendations or findings.             Plaintiff cannot show he is entitled to such

extraordinary relief under these circumstances, and accordingly, defendants respectfully request

that this Court reconsider and vacate its preliminary injunction order.

        First, there is no longer a risk of irreparable harm. The Court issued a preliminary

injunction to prevent irreparable injury to “Plaintiff’s right to fully participate in the Commission.”

Mem. Op. at 22, ECF No. 33. Plaintiff effectively admits that there is no longer a prospect of

injury to that right. Instead, he argues that voting issues generally are a matter of public concern,

and the Commission records he seeks would inform that concern. But the connections between

the former Commission’s records and generalized voting concerns are far too attenuated to show

that injury is both certain and great, as this Circuit requires.

        Second, plaintiff can no longer show a likelihood of success on the merits given the change

in circumstances. This Court’s order was based on its determination that relief was necessary to

secure plaintiff’s rights under Cummock v. Gore, 180 F.3d 282 (D.C. Cir. 1999), to “fully

participate” in the activities of the Commission. But the Commission no longer exists, and plaintiff

has not shown how receiving documents that pre-date the dissolution would effectuate those no-

longer-existing participation rights, particularly when the Commission issued no report or findings

from which he could dissent or concur. At the very least, the scope of Cummock under these

circumstances should be decided on a full record with full briefing, not on an emergency basis.

Further, plaintiff has failed to put forward any authority in his opposition in support of a supposed




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right to participate in post-Commission wind-down activities – and there is no such right. Nor

has plaintiff shown that the balance of the equities and public interest warrant preliminary relief.

       Finally, if this Court denies defendants’ motion for reconsideration, this Court should stay

its order pending consideration of an appeal. The immediate release of documents would moot

defendants’ right to appeal the disclosure order, and, tellingly, plaintiff never claims otherwise.

                                          ARGUMENT1

I.     In Light of the Commission’s Dissolution, Plaintiff Cannot Show Irreparable Harm.

       This Court should reconsider its order because plaintiff can no longer show irreparable

injury based on the current circumstances. “The irreparable injury requirement erects a very high

bar for a movant.” Coal. for Common Sense in Gov’t Procurement v. United States, 576 F. Supp.

2d 162, 168 (D.D.C. 2008). To warrant injunctive relief, the plaintiff’s “injury must be both certain

and great; it must be actual and not theoretical.” Wisc. Gas. Co. v. FERC, 758 F.2d 669, 674 (D.C.

Cir. 1985). “If a party fails to make a sufficient showing of irreparable injury, the court may deny

the motion for injunctive relief without considering the other factors.” Human Touch DC, Inc. v.

Merriweather, 2015 WL 1256162, at *3 (D.D.C. May 18, 2015) (citing CityFed Fin. Corp. v.

Office of Thrift Supervision, 58 F.3d 738, 747 (D.C. Cir. 1995)).

       The Court issued a preliminary injunction to prevent irreparable injury to “Plaintiff’s right

to fully participate in the Commission.” Mem. Op. at 22; see also id. at 17 (“Plaintiff is entitled

to substantive information so that he can contribute along the way in shaping the ultimate

recommendations of the Commission . . .”). Because there is no longer a Commission, and because

the Commission was terminated without issuing a report or making any recommendations,



1
  Plaintiff notes that motions for reconsideration are “strongly disfavored.” Pl.’s Opp’n at 3. One
of the situations where motions for reconsideration are appropriate, however, are where, as here,
there has been a significant change in factual circumstances. See Recons. Mem. at 3-5.
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including any preliminary findings, Second Herndon Decl. ¶ 5, ECF No. 39-2, there is no longer

any prospect of future injury to plaintiff’s right to fully participate in the Commission, the

purported injury which was the basis for the preliminary injunction. Def.’s Mot. to Reconsider

(“Recons. Mem.”), at 6-7, ECF No. 39-1. Indeed, plaintiff never argues that there is, which should

end the inquiry. See Mem. Opp’n Def.’s Mot. to Reconsider (“ Pl.’s Opp’n”), at 7-9, ECF No. 46.

       Instead, plaintiff changes tack altogether. Instead of claiming an injury to the right to

participate in the former Commission, he asserts an injury to his ability to opine generally about

voter issues – a right divorced from the Cummock right upon which he based his motion. Plaintiff

now claims that “[t]he issues that Secretary Dunlap was appointed to the Commission to study –

inter alia, election integrity, the existence or non-existence of voter fraud, and impediments to the

right to vote – are indisputably ‘matters of current national debate,’” – Pl.’s Opp’n at 7 (quoting

Wash. Post v. DHS., 459 F. Supp. 2d 61, 75 (D.D.C. 2006)), and such debate “would benefit from

[plaintiff’s] fully informed views,” id. This novel position has several flaws. First, Cummock was

about a Commissioner’s right to “fully participate in the deliberations of the Commission,” 180

F.2d at 284; it was not about facilitating a former Commission member’s right to participate

generally in public discussions about issues related to the former Commission’s mission.

       Second, even by his own terms, plaintiff’s asserted injury, caused by his supposed lack of

access to information, is not “certain and great,” as this Circuit requires. Wisc. Gas. Co., 758 F.2d

at 674. In the FOIA context (which is, of course, a document disclosure statute designed to further

public debate, as opposed to Cummock, where document disclosures are intended to further the

member’s participation rights),2 courts have generally held that “it is difficult for a plaintiff to



2
  FOIA has a provision for expedited processing which recognizes the importance of timeliness
and sets criteria for determining expedited processing. 5 U.S.C. § 552(a)(6)(E). FACA lacks such
a provision.
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demonstrate ‘irreparable harm’ that is in fact ‘beyond remediation’ because he is entitled to obtain

all responsive and non-exempt documents at the conclusion of the litigation.” Sai v. Transp. Sec.

Admin., 54 F. Supp. 3d 5, 10 (D.D.C. 2014). As discussed in defendants’ opening motion, Recons.

Mot. at 7-8, there is a limited exception if the “specific subject” of the information is of “vital

public interest” for an upcoming legislative or executive action. Id. at 10. That includes where

the information was “vital to the current and ongoing debate about the legality of the

Administration’s warrantless surveillance program,” Elec. Privacy Info. Ctr. v. DOJ, 416 F. Supp.

2d 30, 41 (D.D.C. 2006), or was necessary because of the “upcoming expiration” of a statutory

provision, Leadership Conf. on Civil Rights v. Gonzales, 404 F. Supp. 2d 246, 260 (D.D.C. 2005).

If, however, “it is not at all ‘certain’ that the records [plaintiff] seeks are crucial to the public’s

understanding of, or participation in, the ongoing . . . debate,” there is no irreparable injury.” Elec.

Privacy Info. Ctr. v. DOJ, 15 F. Supp. 3d 32, 45 (D.D.C. 2014).

        Plaintiff, at best, claims that the documents to which he is supposedly entitled bear on a

general debate about voter registration processes; but this general pertinence does not establish

irreparable injury here. See Sai, 54 F. Supp.3d at 10; Elec. Privacy Info. Ctr., 15 F. Supp. 3d at

45. Moreover, the documents on which plaintiff now focuses are unrelated to the documents that

were the subject of this Court’s injunction. The Court held that plaintiff is entitled to documents

like a draft of the former Vice Chair’s data request to the states, and “Secretary Gardner’s proposals

for location, content, and possible speakers at [the September 12] meeting,” and documents related

to “plans for the next [Commission] meeting” (of which there was, of course, none), as well as

“similar documents.” Mem. Op. at 18. Plaintiff never argues how these specific Commission-

related documents are related to any ongoing debate about voter issues, much less how he would

be injured by a delay in receiving them (if this Court eventually rules that he is entitled to them).



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       Plaintiff’s remaining objections also fail. He states that “[h]e cannot confirm, clarify, or

dispute the Commission statements on which others are relying,” apparently referring to non-

Commission statements about “findings.” Pl.’s Opp’n at 8. But as stated in a sworn declaration

by a Deputy Assistant to the President, “[t]he Commission did not create any preliminary

findings.” Second Herndon Decl. ¶ 5. Plaintiff’s speculation about other documents, or his desire

to engage in public debate with other former Commission members, cannot establish the required

“certain” irreparable injury. Wisc. Gas. Co., 758 F.2d at 674. Plaintiff next criticizes defendants

for focusing on public debate “about the Commission itself.” Pl.’s Opp’n at 8. But the case law

requires as a necessary element that the specific information sought – in this case, information

about the Commission’s activities – relate to a matter of “vital public interest” that is the basis for

supposed irreparable injury. Elec. Privacy Info. Ctr., 15 F. Supp. 3d at 45, 47.

       Finally, plaintiff’s claims of irreparable injury to his supposed right to participate in post-

Commission wind-down activities rests on even flimsier ground. See Pl.’s Opp’n at 9-10. To

begin, plaintiff offers no claim of injury, much less irreparable injury, based on a violation of this

supposed right. Id. Second, plaintiff never offers legal argument for his right to participate in

these activities, id., and there is no such right. See § II, infra. Instead, plaintiff claims – without

support – that he has a right to provide “input into the process of collecting Commission records,”

Pl.’s Opp’n at 9, even though there is little to no role for the courts – much less private parties – to

play in effectuating the Presidential Records Act, and certainly not under circumstances such as

these, where the White House is collecting materials. See Armstrong v. Exec. Office of the

President, 1. F3d 1274, 1284 (D.C. Cir. 1993). Plaintiff further claims that he has the right to

“participate in “[t]he decision to dissolve” the Commission,” Pl.’s Opp’n at 9, even though that

decision rests with the President, and, in any event, has already been made.



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II.    In Light of the Dissolution of the Commission, Plaintiff Cannot Show a Likelihood
       of Success on the Merits.

       This Court partially granted plaintiff’s motion for a preliminary injunction on the basis that

the extraordinary remedy of preliminary injunctive relief was necessary to secure plaintiff’s right

under Cummock v. Gore to “inform his full participation in the Commission and its development

of recommendations to the President.” Mem. Op. at 16; see also id.at 15, 17; Recons. Mem. at 10-

11. The Commission no longer exists; and so there is nothing to participate in, nor are there any

recommendations to submit to the President; indeed, there are not even any preliminary findings

from which to object. See Second Herndon Decl. ¶ 5. Under these circumstances, plaintiff does

not show how he is likely to succeed on the merits of a mandamus claim under a Cummock theory.

       First, with respect to documents that predate the termination of the Commission, plaintiff

has no longer shown that he is clearly entitled to such documents, because access to those

documents is not necessary to effectuate a participation right that no longer exists. Cummock holds

that a committee member “has the right to fully participat[e] in [the committee’s] deliberations,”

180 F.3d at 284, so that the member may “contribute along the way in shaping the ultimate

recommendations of the Commission,” Mem. Op. at 17. Cummock makes clear that the right to

participate includes the right to review documents used in the creation of a final report even after

the committee no longer exists. See 180 F.3d at 292 (“the Commission could not deny her access

to information that it reviewed and relied upon in formulating its recommendations”).

       But neither Cummock nor this Court’s opinion speaks to the situation at issue here – the

scope of a member’s participation rights when a Commission has been dissolved and no report,

recommendations, or findings were issued, and never will issue. See Recon. Mem. at 10-11. In

Cummock, the plaintiff was prevented from fully participating in the report and recommendations

issued by the committee because she was denied access to information used in that report.

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Moreover, that participatory violation was ongoing, because there was a report to which she could

not respond on an equal footing with other committee members absent remedial relief. Here, by

contrast, the Commission was terminated without issuing a report or making recommendations or

findings, and there is nothing for plaintiff to dissent from, or, more generally, to participate in.

Plaintiff, therefore, has not shown that he is entitled to documents that could effectuate his

participation rights in a Commission that no longer exists, particularly, as here, in a mandamus

context where there is no on-point precedent addressing this situation. See In re al-Nashiri, 791

F.3d 71, 86 (D.C. Cir. 2015) (“Legal aporias are the antithesis of the ‘clear and indisputable’ right

needed for mandamus relief.”). In any event, this legal issue can and should be briefed and decided

on a non-emergency basis.

       Second, plaintiff has not even attempted to show that he has a legal interest in activities or

materials that post-date the dissolution of the Commission. See Recons. Mem. at 9-10. He lacks

such an interest: FACA section 10(b) only requires that documents “be available for public

inspection . . . until the advisory committee ceases to exist,” 5 U.S.C. app. 2 § 10(b) (emphasis

added), and, as this Court has held, the Commission’s duty to effectuate plaintiff’s right to

participate in Commission activities is only “applicable during the life of the Commission,” Mem.

Op. at 18. Plaintiff’s right to information to facilitate his participation in Commission activities

applies only to information that was created or obtained during the Commission’s existence, not

information that post-dates the Commission. Indeed, plaintiff never argues otherwise, stating only

that he “is clearly and indisputably entitled to the documents generated through the Commission’s

dissolution on January 3, 2018.” Pl.’s Opp’n at 6. He says nothing about his entitlement to

documents that may have been created after that date, and his silence is telling.




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       Plaintiff’s limited attempts to show continued likelihood of success are unavailing. He

first states that a claim for documents is not mooted by the termination of a FACA advisory

committee. See Pl.’s Opp’n at 5 (citing, e.g., Ctr. for Biological Diversity v. Tidwell, 239 F. Supp.

3d 213, 227 (D.C. Cir. 2017)). But these cases merely state that an otherwise-valid claim by a

third party for FACA documents is not mooted by the dissolution of an advisory committee; they

say nothing about the central issue in this case, whether a Commissioner’s right to participate in

an advisory committee’s activities (with his concomitant right to documents in his role as

Commission member) survives the termination of an advisory committee that never issued a report

or made any recommendations or findings. See Recons. Mem. at 10-11. Second, plaintiff argues

that there is no “loophole” exempting from compliance those advisory committees that do not

publish a final report, and that FACA section 10(b)’s language “applies to all materials ‘which

were made available to or prepared for or by each advisory committee.’” Pl.’s Opp’n at 6 (quoting

5 U.S.C. app 2. § 10(b)). But plaintiff did not base his preliminary injunction motion on the right

to documents under FACA section 10(b) that is common to all members of the public, and the

Court did not enter an order based on that claim. See Mem. Op. at 20; Recons. Mem. at 11 n.3.

Rather, the preliminary injunction was based on effectuating plaintiff’s right as a Commission

member to participate in the activities of a committee that now no longer exists.

III.   In Light of the Dissolution of the Commission, the Balance of Equities and the Public
       Interest Do Not Warrant Preliminary Injunctive Relief.

       In its initial order, the Court concluded that the balance of the equities and the public

interest justified relief because “[d]enial of the requested injunction would frustrate [plaintiff’s]

interest in contributing his unique perspective [to the Commission] as well as gaining the

‘recognition and even prestige,’ of full participation in such a commission.” Mem. Op. at 23

(internal citations and quotation marks omitted). Those concerns no longer apply, see Recons.

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Mem. at 11, and plaintiff never claims that they do, see Pl.’s Opp’n at 10. Instead, plaintiff

discusses his interest in contributing his perspective “to the ongoing debate on election integrity,”

id., but this, of course, has nothing to do with the public interest in his right to participate in the

Commission. Plaintiff also says that the “‘public interest in preserving the integrity of the courts’

will also be damaged if Defendants use the dissolution of the Commission to avoid FACA

obligations and this Court’s Order.” Pl.’s Opp’n at 10 (quoting Young v. Office of the U.S. Senate

Sergeant at Arms, 217 F.R.D. 61, 70 (D.D.C. 2003)). But defendants’ motion does neither; rather,

it seeks to clarify defendants’ FACA obligations and the continued propriety of preliminary

injunctive relief in light of changed circumstances. See Salazar v. Buono, 559 U.S. 700, 714-15

(2010) (plurality op.) (“Because injunctive relief ‘is drafted in light of what the court believes will

be the future course of events, . . . a court must never ignore significant changes in the law or

circumstances underlying an injunction lest the decree be turned into an ‘instrument of wrong.’”)

(citations omitted). Young, which discussed monetary sanctions, is inapposite.

       Nor does the public interest support the release of materials, either pre or post dissolution.

With respect to plaintiff’s supposed right to participate in activities post-dating the Commission (a

right that, again, he lacks), he merely says that “Defendants would not be harmed by Secretary

Dunlap’s participation.” Pl.’s Opp’n at 11. But defendants would be harmed if they were required

to insert a non-federal employee into sensitive internal government discussions about the

disposition of records in compliance with federal law, including discussions that involve sensitive

and privileged materials. Recons. Mem. at 12; see also Cheney v. U.S. Dist. Ct. for D.C., 406

F.3d 723, 727 (D.C. Cir. 2005) (en banc).             With respect to documents that predate the

Commission’s dissolution, this Court’s earlier decision was based on a right to participate in a

Commission that no longer exists. The public interest in such an order is necessarily diminished.



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Furthermore, the balance of harms – particularly if internal White House materials not shared with

any former Commission members are released – now tilts in favor of the defendants.

IV.    Alternatively, This Court Should Stay the Injunction Pending Consideration of a
       Possible Appeal.

       If this Court denies defendants’ motion for reconsideration of the preliminary injunction,

defendants respectfully request that the Court stay its order pending consideration of appeal.

Recons. Mem. at 12-13; see also People for the Am. Way Found. v. U.S. Dep’t of Educ., 518 F.

Supp. 2d 174, 177 (D.D.C. 2007) (“[C]ourts have routinely issued stays where the release of

documents would moot a defendant’s right to appeal.”). Plaintiff never argues, nor can he, that a

release of documents would not moot defendants’ right to appeal, nor that defendants would not

be irreparably harmed if the obligation to produce records was not stayed. Instead, he states that

defendants have not shown that a stay pending appeal is warranted. See Pl.’s Opp’n at 13. But

the key factor – irreparable harm to the defendants – cuts in favor of a stay. See John Doe Co. v.

CFPB, 235 F. Supp. 3d 194, 205 (D.D.C. 2017) (“A party [seeking a stay] does not necessarily

have to make a strong showing with respect to the first factor (likelihood of success on the merits)

if a strong showing is made as to the second factor (likelihood of irreparable harm).”) (citation

omitted). Moreover, as discussed above, defendants believe it is likely that they will succeed on

the merits, and at the very least, given the uncertainties over the scope of Cummock in this unique

context, “the case presents a serious legal question.” Id. The final two factors – the public interest

and the balance of equities, cut in favor of the defendants. Id.; see also Recons. Mem. at 13.

                                          CONCLUSION

       For the reasons above, and those set out in defendants’ opening brief, this Court should

reconsider and vacate its December 22, 2017, order granting-in-part and denying in part plaintiff’s

motion for a preliminary injunction.

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Dated: January 24, 2018             Respectfully submitted,

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